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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )       AMENDED ORDER GRANTING
                                              )       MOTION FOR RELEASE
       vs.                                    )
                                              )
Kaine Justice Hurley,                         )       Case No. 1:22-cr-094
                                              )
               Defendant.                     )


       The court convened a detention hearing for defendant June 14, 2022. (Doc. No. 40). At that

hearing, defendant consented to detention. (Doc. No. 40, 41). Consequently, the court ordered

defendant detained with the caveat that his name would be placed on the waiting list for residential

re-entry placement. (Doc. No. 41).

       Defendant is presently in Marshals Service custody at the Sherburne County Jail in Elk

River, Minnesota. On August 19, 2022, he filed a motion for pretrial release. (Doc. No. 72). He

requests to be released to Adult & Teen Challenge’s (“Teen Challenge”) residential treatment

facility in Mandan, North Dakota. He further requests that the court direct the Marshals Service to

arrange for his transport to Teen Challenge as he no other transportation options.

       Under the Bail Reform Act, the court may reopen a detention hearing at any time before trial

if it “finds that information exists that was not known to [defendant] at the time of the hearing and

that has a material bearing on the issue whether there are conditions of release that will reasonably

assure the [defendant's appearance] as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(f).

       Having reviewed the record, the court notes that there is an active bench warrant issued by


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municipal court in Bismarck for defendant and that defendant has criminal matters pending in both

municipal and state district court. The court is nevertheless inclined to afford defendant the

opportunity to participate in Teen Challenge’s treatment programming. First, defendant has now

endured a period of forced sobriety. Second, treatment would be beneficial for defendant. Third,

a placement in a treatment program was not an available option at the time of defendant’s detention

hearing. Finally, the court is persuaded that, given the availability of a treatment program for

defendant and defendant’s ties to the community, there are conditions it can impose that will

reasonably assure defendant’s appearance as required and the safety of others.

       Accordingly, the court GRANTS defendant’s motion (Doc. No. 72). The Marshals Service

shall transport defendant to Teen Challenge as soon as practicable. Upon arriving at Teen

Challenge, defendant shall be released subject to the following conditions:

       (1)     Defendant must not violate federal, state, tribal, or local law while on release.

       (2)     Defendant must appear in court as required and must surrender to serve any sentence

               imposed.

       (3)     Defendant shall report to the Pretrial Services Officer at such times and in such

               manner as designated by that Officer.

       (4)     Defendant shall refrain from the use of alcohol; any use or possession of a narcotic

               drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

               unless prescribed by a licensed medical practitioner, and any use of inhalants.

               Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

               Services Officer to verify compliance. Failure or refusal to submit to testing or

               tampering with the collection progress or specimen may be considered the same as


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       a positive test.

(5)    Defendant shall not possess a firearm, destructive device, or other dangerous

       weapon.

(6)    Defendant shall not knowingly or intentionally have any directed or indirect contact

       with co-defendants except that counsel for the defendant, or counsel's agent or

       authorized representative, may have such contact with such person(s) as is necessary

       in the furtherance of the defendant's legal defense.

(7)    Defendant shall reside at Teen Challenge, fully participate in its treatment

       programming, and abide by its rules and regulations. Immediately upon arriving at

       Teen Challenge, defendant shall immediately contact USPO Christine Argall at (701)

       530-2407.

(8)    Defendant shall execute releases as necessary so that the Pretrial Services Office may

       monitor his progress and participation in Teen Challenge’s treatment programming.

(9)    Defendant shall submit his person, residence, vehicle, and/or possessions to a search

       conducted by a Pretrial Services Officer at the request of the Pretrial Services

       Officer. Failure to submit to a search may be grounds for revocation of pretrial

       release. Defendant shall notify any other residents that the premises may be subject

       to searches pursuant to this condition.

(10)   Upon his discharge or termination from Teen Challenge’s treatment program,

       defendant shall immediately report to the United States Marshal's Office in Bismarck

       with the understanding that he shall be detained pending further order of the Court.




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IT IS SO ORDERED.

Dated this 25th day of August, 2022.

                                           /s/ Clare R. Hochhalter
                                           Clare R. Hochhalter, Magistrate Judge
                                           United States District Court




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